
IN this cause, which was a hill for specific execution of an agreement to purchase land, and which was heard the 15 day of may, 1794, the court, for reasons similar to those explained in the case between Rose and Nicholas, refused to subject the laud to sale for payment of the purchase money.*

[*The Court of Appeals say, 2 Wash. 141-3, that the only question was, whether the render of land sold and in possession of the vendee, but not conveyed, has a lien upon it, so as to secure the payment of the purchase money7. They held, that the appellant Cole, riot having conveyed the land, nor taken any security for the balance of his purchase money, hath a lien upon the lands in the hands of the ap-pellee for satisfaction of such balance. Chancellor’s decree dismissing the bill reversed. See King v. Ban son, i Call, 259.-— üí.]

